Case 18-52363-jwc   Doc 85 Filed 04/20/19 Entered 04/21/19 01:16:37        Desc Imaged
                          Certificate of Notice Page 1 of 4




      IT IS ORDERED as set forth below:



      Date: April 18, 2019
                                              _________________________________

                                                       Jeffery W. Cavender
                                                  U.S. Bankruptcy Court Judge

     ________________________________________________________________
Case 18-52363-jwc   Doc 85 Filed 04/20/19 Entered 04/21/19 01:16:37   Desc Imaged
                          Certificate of Notice Page 2 of 4
Case 18-52363-jwc   Doc 85 Filed 04/20/19 Entered 04/21/19 01:16:37   Desc Imaged
                          Certificate of Notice Page 3 of 4
        Case 18-52363-jwc             Doc 85 Filed 04/20/19 Entered 04/21/19 01:16:37                               Desc Imaged
                                            Certificate of Notice Page 4 of 4
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-52363-jwc
Millard Courtney Farmer, Jr.                                                                               Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: ngs1                         Page 1 of 1                          Date Rcvd: Apr 18, 2019
                                      Form ID: pdf649                    Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 20, 2019.
db             +Millard Courtney Farmer, Jr.,     1196 Dekalb Ave,    Atlanta, GA 30307-2079
aty            +Wilmer Parker,    Suite 910,    1360 Peachtree Street,    Atlanta, GA 30309-3287
cr             +John H. Murphy,    Kilpatrick Townsend & Stockton LLP,     1100 Peachtree Street,   Suite 2800,
                 Atlanta, GA 30309-4530
21583709       +City of Atlanta,    Office of Revenue,    55 Trinity Ave, Suite 1350,    Atlanta, GA 30303-3534
21321849       +John H. Murphy,    c/o Maloy Jenkins Parker,    1360 Peachtree Street NE,    Suite 910,
                 Atlanta, GA 30309-3287
21487548       +John Harold Murphy,    Kilpatrick Townsend & Stockton LLP,     Attn: Colin M. Bernardino, Esq.,
                 1100 Peachtree St. NE, Suite 2800,     Atlanta, GA 30309-4530
21387531       +Nan Freeman,    c/o Ken Gordon,    PO Box 1088,    Lagrange, GA 30241-0020

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion21.at.ecf@usdoj.gov Apr 18 2019 21:31:11
                 Office of the United States Trustee,   362 Richard Russell Building,    75 Ted Turner Drive, SW,
                 Atlanta, GA 30303-3315
21583710       +E-mail/Text: djelem@dekalbcountyga.gov Apr 18 2019 21:30:36      Dekalb County Tax Commissioner,
                 4380 Memorial Drive, Suite 100,   Decatur, GA 30032-1239
21484153        E-mail/PDF: resurgentbknotifications@resurgent.com Apr 18 2019 21:41:44
                 LVNV Funding, LLC its successors and assigns as,    assignee of Citibank, N.A.,
                 Resurgent Capital Services,   PO Box 10587,   Greenville, SC 29603-0587
21583711       +E-mail/PDF: resurgentbknotifications@resurgent.com Apr 18 2019 21:40:55
                 Resurgent Capital Services,   P.O. Box 10587,    Greenville, SC 29603-0587
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 20, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 18, 2019 at the address(es) listed below:
              Colin Michael Bernardino   on behalf of Creditor John H. Murphy
               CBernardino@Kilpatricktownsend.com,
               sagreen@kilpatricktownsend.com;mwilliams@kilpatricktownsend.com
              Julie M. Anania   on behalf of Trustee Nancy J. Whaley ECF@njwtrustee.com
              Nancy J. Whaley   ecf@njwtrustee.com
              Ralph Goldberg    on behalf of Debtor Millard Courtney Farmer, Jr. attorneygoldberg@hotmail.com,
               goldbergandcuvillier@gmail.com
                                                                                            TOTAL: 4
